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          Exhibit DD  1:20-cv-003460-KBJ
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
 CARTER PAGE,                                     )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )        Civil Action No. 1:20-cv-3460-KBJ
                                                  )
 JAMES COMEY, et al.,                             )
                                                  )
       Defendants.                                )
                                                  )
                                                  )


                               Declaration of Jonathan M. Malis

       I, Jonathan M. Malis, do hereby declare:

       1. I am the General Counsel for the Office of the Inspector General (OIG), United States
Department of Justice (Department or DOJ), and a member of the Senior Executive Service. I
have worked at the Department since 1998, for twenty years as an Assistant United States
Attorney and since October 1, 2018, as the OIG’s General Counsel. I obtained my B.A. from
Yale University in 1991 and my J.D. from Harvard Law School in 1995.

        2. Among my responsibilities as General Counsel for the OIG, I serve as the principal
legal advisor to the Inspector General, provide authoritative legal guidance critical to the OIG’s
mission, and oversee the OIG’s privacy program. Due to the nature of my duties, I am familiar
with the OIG’s processes and procedures for preparing and issuing reports arising from OIG
audits, inspections, investigations, and reviews. I am also familiar with the OIG’s obligations
under the Privacy Act. The statements herein are based on my personal knowledge and other
information I have acquired while performing my official duties.

        3. On December 9, 2019, the OIG issued a report entitled “Review of Four FISA
Applications and Other Aspects of the FBI’s Crossfire Hurricane Investigation,”
https://www.oversight.gov/sites/default/files/oig-reports/o20012.pdf (accessed May 17, 2021)
(the Report). Because the subject matter of this review necessitated an examination of highly
classified information, the Report was drafted on a classified system, underwent final
classification review just prior to its issuance, and was released publicly with some redactions.




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Communications with Carter Page

        4. Beginning in or around September 2019, I became aware of a request from Carter
Page to review a draft of the Report, prior to its public release, pursuant to the access provisions
of the Privacy Act, 5 U.S.C. § 552a(d). I reviewed emails that Mr. Page sent to the Inspector
General and other senior DOJ officials, in which he made that request. Attached as Exhibits A,
B, and C are a few of these emails; I was made aware of these communications around the time
they were received. I also became aware of a pro se lawsuit filed by Mr. Page against DOJ on
October 21, 2019, asserting various causes of action under the Privacy Act, 5 U.S.C. § 552a, and
the Freedom of Information Act, 5 U.S.C. § 552.

        5. I concluded that Mr. Page had no right to access the draft Report, prior to its public
release, pursuant to the Privacy Act. On November 12, 2019, in response to Mr. Page’s request
to review a draft of the Report, I sent Mr. Page a letter, attached as Exhibit D, informing him that
the OIG had not contacted him for an interview because his actions were not the subject of the
OIG’s review. I further advised Mr. Page that the OIG would notify him of the Report’s
anticipated release date shortly before the Report would be made public. I also advised Mr. Page
that I would not specifically address his request to review a draft of the Report pursuant to the
Privacy Act, due to the pendency of his October 21, 2019 lawsuit.

       6. On November 14, 2019, I had a conference call with Mr. Page and his then counsel, at
counsel’s request, during which I reiterated the points in my November 12, 2019 letter.

       7. On November 21, 2019, I notified Mr. Page and his then counsel that the OIG
expected to release the Report on December 9, 2019.

         8. Since the public issuance of the Report on December 9, 2019, Mr. Page has not
contacted the OIG to identify any inaccuracies in the Report, to request any corrections be made
to the Report, or to otherwise make a Privacy Act request for access or amendment with respect
to the final Report.

Facts Relevant to the Privacy Act Determination

        9. It is my understanding that a system of records exists only if the information contained
within the body of material is both “retrievable by personal identifier” and “actually retrieved by
personal identifier.” Applying that definition, neither the draft nor the final Report are in a
system of records. Draft versions of the Report are saved by working title of the Report in the
OIG’s classified electronic records. The OIG’s Oversight and Review Division (O&R), which
conducted the review that led to the issuance of the Report, generally does not index its
investigative records relating to reviews or retrieve them by use of a personal identifier. Rather,
O&R would access such records by reference to the title of the report or OIG investigation file
number.

        10. The final Report is accessible on the public OIG website and filed in O&R’s
electronic files. As accessible on the website or in O&R’s files, the Report is indexed by the title


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and number of the Report, not Mr. Page’s personal identifier. While one could conceivably run a
text search for Mr. Page’s name, that is not how the agency accesses or retrieves the Report.

        11. Moreover, it is my understanding that the Attorney General (AG) has exempted the
OIG’s investigative records from the access and amendment provisions of the Privacy Act. See
28 C.F.R. § 16.75 (citing 5 U.S.C. § 552a(j)(2), (k)(1), and (k)(2)). This regulation provides that
“[t]hese exemptions apply only to the extent that information in this system is subject to
exemption pursuant to 5 U.S.C. 552a (j)(2), (k)(1) and (k)(2)” and further states that “[w]here
compliance would not appear to interfere with or adversely affect the law enforcement process,
and/or where it may be appropriate to permit individuals to contest the accuracy of the
information collected, e.g., public source materials, the applicable exemption may be waived,
either partially or totally” by OIG. See 28 C.F.R. § 16.75.

       12. The information in the draft Report, if it were contained in a system of records,
would be subject to this exemption. In its entirety, a draft report would be “investigatory
material compiled for law enforcement purposes” under Section 552a(k)(2). The AG exempted
such information to protect investigative and classified information and because amendment
would “impose an impossible administrative burden by requiring investigations to be
continuously reinvestigated.” Here, the draft Report, if it were in a system of records at all,
would be subject to this exemption, and the exemption would not be waived. I base that
conclusion on a variety of factors:
           x   At the time of Mr. Page’s access request, the draft Report was still classified. It
               only underwent final classification review just prior to its issuance and public
               release. To my knowledge, Mr. Page did not hold a national security clearance in
               the Fall of 2019 and, even if he did, there was no “need-to-know” determination
               entitling him to access any classified information that was contained in the draft
               Report.

           x   At the time of Mr. Page’s access request, the draft Report was still undergoing
               review and revision. The deliberative, non-final draft Report reflects the then –
               ongoing deliberations and investigative activity related to the final Report.

           x   In addition to the OIG’s internal deliberations over the content of the draft Report,
               and consistent with the OIG’s standard practice in such reviews, the OIG
               provided portions of the draft Report to individuals who were interviewed and
               whose conduct was addressed in the draft Report, along with certain other
               witnesses, for review and comment. See Report at 14, n. 23. Mr. Page was not
               such a witness because his conduct was not at issue in the Report.




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         x   A waiver for the non-public draft Report would be particularly inappropriate now
             because a public version of the final Report is available, providing a final,
             accurate, fully reviewed and publicly accessible version of the Report.

                                                                       Digitally signed by
Dated: May 17, 2021                               JONATHAN             JONATHAN MALIS
                                                                       Date: 2021.05.17
                                                  MALIS                13:14:12 -04'00'
                                                 ________________________________
                                                 Jonathan M. Malis
                                                 General Counsel
                                                 Office of the Inspector General
                                                 United States Department of Justice




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               Malis Decl. Exhibit A
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From:            Horowitz Michael E.(OIG)
To:              Malis Jonathan M. (OIG); Blier Wi liam M.(OIG); O Neill Michael S. (OIG)
Subject:         FW: Expedited Processing Requested on FOIA Track ng No. FY17-245 and EOUSA-2017-001754
Date:            Friday October 11 2019 12:04:49 AM



FYI

From: Carter Page
Sent: Thursday October 10 2019 10 54 PM
To: Privacy (SMO) <Ex_PrivacySOBO@jmd.usdoj.gov>
Cc: Horowitz Michael E.(OIG) <mhorowitz@OIG.USDOJ.GOV>; Horowitz Michael E.(OIG) <mhorowitz@OIG.USDOJ.GOV>; Durham John (USACT) <JDurham@usa.doj.gov>; Durham John (USACT) <JDurham@usa.doj.gov>
Subject: Re Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754


OPLC team:

In response to your request, I believe that I have already provided DOJ with extensive evidence of these earlier Privacy Act violations These extend all the way
back to the time of my original requests which I had addressed to the FOIA/PA Mail Referral Unit in May 2017 But to this day, these have still never been
properly fulfilled More recently, the summaries that I have included in the email chain below provide a brief overview sample of a few of these specific areas
of concern Succinctly speaking, the premature leaking of my illegitimate FISA affidavits to the New York Times on July 21, 2018 before I ever even received a
copy myself days later is a prominent case in point of these Privacy Act violations

With regards to the most urgent actionable request at this current late point in the process, the OPCL website states: “Within ten working days of receiving your
request for amendment or correction of records, the component that received your request should send you a written acknowledgment of its receipt of your
request, notifying you whether your request is granted or denied ” To the contrary, it took one full month before I received any response to my emails from
your office Finally, today In this context and contrary to the suggestions previously made to me by OIP, I am particularly concerned that a senior member of
one of the Congressional Committees which oversees the Justice Department has recently reported that the Inspector General’s FISA abuse report is now
expected to be released imminently even though appropriate reviews for accuracy and comment purposes have not been completed yet:

https://www realclearpolitics com/video/2019/10/06/ratcliffe_doj_inspector_generals_report_on_fisa_abuse_during_2016_election_will_be_released_friday html
  

More specifically, this is most concerning since I have still not had any opportunity to verify these systems of records pertaining to me for accuracy purposes
This runs contrary to both: (A) the legal tenets enumerated in the previously cited 5 U S C § 552a(d)(2) subsection that allows for amendment of government
records pertaining to an individual as I had requested long ago, and (B) Inspector General Horowitz’s September 13 letter to Senate Judiciary Chairman Lindsey
Graham and other Congressional leaders that indicated his assurance that “appropriate reviews occur for accuracy and comment purposes” would occur prior to
release of the forthcoming FISA abuse report By all indications and in accordance with the Privacy Act statute, no other such possible review by anyone else
seems as critically important as the one that I am awaiting to eventually conduct

As the most urgent matter related to your request this afternoon, please let me know as soon as possible the appropriate methods for completing this review of
the FISA abuse Inspector General report draft In prior years amidst this ongoing saga, contacts within OIP had previously suggested that I file a civil action in a
U S District Court as a potential remedy to this continued impasse I hope we can avoid this less efficient process, but I would be willing to proceed down such
a cumbersome litigation path if there is no other way to finally ensure Privacy Act compliance at this juncture   

Kind regards,
Carter Page   

From: "Privacy (SMO)" <Privacy@usdoj.gov>
Date: Thursday October 10 2019 at 1 47 PM
To:
Subject: RE Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Mr. Page

The Office of Privacy and Civil Liberties of the Department of Justice oversees compliance with privacy-related federal laws regulations and policies within the Department. If you are claiming that the a component of the
Justice Department violated the Privacy Act please provide concise details.

Thank you

Office of Privacy and Civil Liberties
United States Department of Justice


From: Carter Page
Sent: Tuesday September 10 2019 6 24 PM
To: Peter Winn <Peter.Winn@usdoj.gov>; Privacy (SMO) <Ex PrivacySOBO@jmd.usdoj.gov>
Cc: Horowitz Michael E.(OIG) <mhorowitz@OIG.USDOJ.GOV>; Durham John (USACT) <JDurham@usa.doj.gov>; Liu Jessie (USADC) <JLiu3@usa.doj.gov>; Smith James M. (OIP) <jmsmith@jmd.usdoj.gov>; Hurd Matthew
(OIP) <mhurd@jmd.usdoj.gov>; Pustay Melanie A (OIP) <mpustay@jmd.usdoj.gov>; USDOJ-Office of Legal Counsel (SMO) <Ex OLC@jmd.usdoj.gov>; FOIArequests CRT (CRT) <CRT.FOIArequests@crt.usdoj.gov>; Mallory
Arnetta (NSD) <amallory@jmd usdoj gov>; ogis@nara gov; Zachary ("Zach") Somers <zach_somers@judiciary-rep senate gov>; Davis Kolan (Judiciary-Rep) <Kolan_Davis@judiciary-rep senate gov>; peter_carey@judiciary-
rep.senate.gov; erin creegan@judiciary-rep.senate.gov; aaron cummings@judiciary-rep.senate.gov; ryan dattilo@judiciary-rep.senate.gov; richard dizinno@judiciary-rep.senate.gov; josh flynn-brown@judiciary-
rep.senate.gov; steve kenny@judiciary-rep.senate.gov; barbara ledeen@judiciary-rep.senate.gov; kyle mccollum@judiciary-rep.senate.gov; lauren mehler@judiciary-rep.senate.gov; katherine nikas@judiciary-
rep.senate.gov; jessica vu@judiciary-rep.senate.gov; theo wold@judiciary-rep.senate.gov; lee holmes@judiciary-rep.senate.gov; Cecilia Bessee <Cecilia.Bessee@ic.fbi.gov>; Bessee Cecilia O. (OGC) (FBI)
<COBessee@fbi.gov>
Subject: Re Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Dear Mr Winn and Ms Harman-Stokes:

Based on my discussions with the DOJ’s Office of Information Policy today, I have been referred to your Office of Privacy and Civil Liberties as the more appropriate point of contact for
the resolution of the historic abuses which relate to the continued Privacy Act of 1974 violations by the Department Please see my two recent emails below and the associated
attachments

By way of introduction and along the lines of the inequities briefly outlined in my prior correspondence, the latest criminal leaks on p. A1 of today's New York Times have further exposed the continued
pattern of the dual justice system at DOJ and other elements of the U S Intelligence Community, relating to unresolved crimes surrounding the FISA abuse against the Trump movement
including myself As further described in the associated description and references sent to OIP below, this is the same newspaper which illegally received my redacted FISA warrants prior
to me in violation of the Privacy Act statute In this latest instance, another Government informant has been revealed as not only receiving special treatment but also allegedly getting a
luxurious taxpayer-funded mansion to boot:

https://www rferl org/a/virginia-residents-question-whether-their-neighbor-was-a-russian-informant/30157496 html  

      Per my correspondence with OIP below and as the most specific pressing issue that should be addressed immediately, I have been trying to ensure DOJ's necessary change to future
compliance with 5 U S C § 552a(d)(2) which permits individuals "to request amendment of a record pertaining to him” I have been requesting and waiting for that to happen for years
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already By comparison and within hours of today's headline story first breaking, Secretary of State Pompeo very promptly made clear that today’s aforementioned new reports were
“materially inaccurate” at this afternoon’s White House press briefing Given my long history as another U S Intelligence Community source whose life was unnecessarily put in
danger, I have been waiting for over three years for the U S Government to resolve these inaccuracies which have thus far led to countless terror threats in the process As of yet, the only
people who have taken any visible steps to resolve this unchecked criminal activity has been seen in the initial investigations by senior Congressional leaders including Senate Judiciary
Chairman Lindsey Graham

As noted in today’s lead story in the New York Times, “officials worried about safety made the arduous decision in late 2016 to offer to extract the source” This is the polar opposite of the
continued non-action by the FBI, DOJ and other agencies of the U S Intelligence Community in the face of many death threats I have faced from Oklahoma and elsewhere, stemming from
the DNC-FBI-DOJ’s well-funded disinformation campaign which began in 2016 For example, please see one of my letters to FBI Director Wray this year - Exhibit 1 in this court
filing: https://assets documentcloud org/documents/5720862/Notice-other pdf  

Please let me know as soon as possible when you are available to urgently discuss this matter I look forward to hearing your suggestions for the immediate resolution of this historic mess
and returning to some semblance of legality with respect to the Privacy Act of 1974

Kind regards,
Carter Page, Ph D

From: Carter Page <
Date: Monday September 9 2019 at 6 34 AM
To: "Pustay Melanie A (OIP)" <Melanie.A.Pustay@usdoj.gov>
Cc: "Michael E. Horowitz" <Michael.e.horowitz@usdoj.gov> "John H. Durham" <john.durham@usdoj.gov> Jessie Liu <jessie.liu@usdoj.gov> "Kochurka Kimberley (OIP)" <Kimberley.Kochurka@usdoj.gov> "Smith James M.
(OIP)" <James.M.Smith@usdoj.gov> USDOJ-Office of Legal Counsel <USDOJ-OfficeofLegalCounsel@usdoj.gov> "FOIArequests CRT (CRT)" <CRT.FOIArequests@usdoj.gov> "Mallory Arnetta (NSD)"
<Arnetta.Mallory@usdoj.gov> <ogis@nara.gov> <privacy@usdoj.gov> "Zachary (\"Zach\") Somers" <zach somers@judiciary-rep.senate.gov> "Davis Kolan (Judiciary-Rep)" <Kolan Davis@judiciary-rep.senate.gov>
<peter_carey@judiciary-rep senate gov> <erin_creegan@judiciary-rep senate gov> <aaron_cummings@judiciary-rep senate gov> <ryan_dattilo@judiciary-rep senate gov> <richard_dizinno@judiciary-rep senate gov>
<josh flynn-brown@judiciary-rep.senate.gov> <steve kenny@judiciary-rep.senate.gov> <barbara ledeen@judiciary-rep.senate.gov> <marc marie@judiciary-rep.senate.gov> <kyle mccollum@judiciary-rep.senate.gov>
<lauren mehler@judiciary-rep.senate.gov> <katherine nikas@judiciary-rep.senate.gov> <brian simonsen@judiciary-rep.senate.gov> <jessica vu@judiciary-rep.senate.gov> <katharine willey@judiciary-rep.senate.gov>
<theo wold@judiciary-rep.senate.gov>
Subject: Re Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Dear Ms Pustay:

I wanted to check with you on the status of my pending Privacy Act request, below Given the time-sensitive nature of this matter and the widely expected public release of the summaries
by the Inspector General relating to the illegal systems of record pertaining to me, please let me know at your earliest convenience the preferred timeline for resolving these open issues and
ensuring DOJ’s return to Privacy Act compliance with regard to the IG’s forthcoming FISA abuse report

As a further related reference in addition to the documents I have re-sent you last week, attached to this email is the other initial Privacy Act request which I had also simultaneously
delivered to the appropriate office at DOJ in May 2017 during the Rosenstein-Sessions era Consistent with DOJ's aforementioned Privacy Act noncompliance in the premature disclosure
of my personal records to New York Times in July 2018, please note that the Mueller report sections about me similarly misrepresented my prior support of the FBI as a government
informant [in particular, see the highly inaccurate portrayal of my support of the FBI as falsely described in Volume 1, pp 96-97 regarding Russian diplomats including Victor Podobnyy,
et al] It is worth noting that the majority of Mr Mueller's partisan DOJ team members who aggressively interrogated me for his misinformation campaign were also financial contributors
to the Democrat-initiated FISA abuse enterprise which helped fund the “opposition research” operation that may form part of the subject matter of the forthcoming IG report

Please note that the current edition of DOJ’s standards regarding Privacy Act subsections (d)(2) amendment compliance focuses on the following precedent:

       Clarkson v IRS, 678 F 2d 1368, 1376-77 (11th Cir 1982) (maintaining that although subsections (e)(1) and (e)(5) apply only to records contained in a system of records, “find[ing]
      it both necessary and appropriate to construe the plain meaning of the language of subsections (d)(2) and (d)(3) to authorize the amendment or expungement of all records which are
      maintained in violation of subsection (e)(7)”)
      https://www justice gov/opcl/definitions#access  

As you are undoubtedly aware regarding this necessary and appropriate compliance, subsection (e)(7) clearly guarantees that the government shall:

      maintain no record describing how any individual exercises rights guaranteed by the First Amendment unless expressly authorized by statute or by the individual about whom
      the record is maintained or unless pertinent to and within the scope of an authorized law enforcement activity;

Whereas you probably have less familiarity with the relevant FISA statutes, please note that the text of this subsection (e)(7) runs parallel to another closely related authority which the
DNC-FBI-DOJ’s FISA abuse enterprise also flagrantly violated in 2016-2017 – specifically, 50 U S Code § 1805(a)(2)(A): “no United States person may be considered a foreign power or
an agent of a foreign power solely upon the basis of activities protected by the first amendment to the Constitution of the United States”

For your reference and along these same lines, please see my attached 2nd Circuit brief which addresses these related First Amendment considerations – in particular, § 9 beginning on p
44 (ECF p 51-54), entitled: “U.S. Constitution Guarantees Equal Justice Under Law for Private Citizens as Well as Large Federal Departments” As indicated herein and with
respect to the U S Government-funded defamatory propaganda attacks that supported Yahoo's infamous false report which directly supported the government’s FISA abuse as confirmed
in the shocking Grassley-Graham memo, this dual justice system has thus far continued and I hope we can now change that longstanding pattern by ensuring DOJ’s compliance in the
upcoming planned disclosures

Thanks again for your consideration I look forward to resolving this with you and your colleagues in the coming days

Best regards,
Carter Page

From: Carter Page <
Date: Tuesday, September 3, 2019 at 1:00 PM
To: "Pustay, Melanie A (OIP)" <Melanie A Pustay@usdoj gov>
Cc: "Michael E Horowitz" <Michael e horowitz@usdoj gov>, "John H Durham" <john durham@usdoj gov>, Jessie Liu <jessie liu@usdoj gov>, "Kochurka, Kimberley (OIP)"
<Kimberley Kochurka@usdoj gov>, "Smith, James M (OIP)" <James M Smith@usdoj gov>, USDOJ-Office of Legal Counsel <USDOJ-OfficeofLegalCounsel@usdoj gov>,
"FOIArequests, CRT (CRT)" <CRT FOIArequests@usdoj gov>, "Mallory, Arnetta (NSD)" <Arnetta Mallory@usdoj gov>, <ogis@nara gov>, "Davis, Kolan (Judiciary-Rep)"
<Kolan Davis@judiciary-rep senate gov>, <peter carey@judiciary-rep senate gov>, <erin creegan@judiciary-rep senate gov>, <aaron cummings@judiciary-rep senate gov>,
<ryan dattilo@judiciary-rep senate gov>, <richard dizinno@judiciary-rep senate gov>, <josh flynn-brown@judiciary-rep senate gov>, <steve kenny@judiciary-rep senate gov>,
<barbara_ledeen@judiciary-rep senate gov>, <marc_marie@judiciary-rep senate gov>, <kyle_mccollum@judiciary-rep senate gov>, <lauren_mehler@judiciary-rep senate gov>,
<katherine nikas@judiciary-rep senate gov>, <brian simonsen@judiciary-rep senate gov>, <jessica vu@judiciary-rep senate gov>, <katharine willey@judiciary-rep senate gov>,
<theo wold@judiciary-rep senate gov>
Subject: FW: Expedited Processing Requested on FOIA Tracking No FY17-245 and EOUSA-2017-001754

Dear Ms Pustay:

I am following up on my prior correspondence with you and your OIP colleagues from July 2017 (please see below/attached) On a news show yesterday and directly related to our prior
exchanges from years ago, U S Senate Judiciary Chairman Graham noted: "Lindsey Graham presses DOJ to declassify Carter Page FISA
process”: https://www washingtonexaminer com/news/lindsey-graham-presses-doj-to-declassify-carter-page-fisa-process   

As you are undoubtedly aware, 5 U S C § 552a(d)(2) requires that DOJ “permit the individual to request amendment of a record pertaining to him” prior to public disclosure Throughout
the time since my first related initial letter that I sent to DOJ over 27 months ago (also attached), I have still not had any of my Privacy Act-related requests fulfilled by the Justice
Department in accordance with the law

I am entirely open to declassification of this fraudulent Russian disinformation found in my illegal FISA warrants which was originally funneled to the Justice Department by DNC
consultants including Nellie Ohr and Christopher Steele Like Chairman Graham, I am also eager to see this completed as soon as possible But it seems to me that now might be a good
time for DOJ to start following the law as part of that process (Privacy Act of 1974, et al)
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On or before Saturday, July 21, 2018 and in direct violation of the Privacy Act, the FBI and/or DOJ illegally released my partially-redacted and highly misleading FISA affidavits to
the New York Times [https://www nytimes com/2018/07/21/us/politics/carter-page-fisa html]    In our two-tiered justice system, both this newspaper and Mr Comey have clearly been
given unconscionable special treatment Not only was I never previously afforded my legal right to amend my own record record pertaining to me beforehand which I had requested on
many earlier occasions for over a year [5 U S C § 552a(d)(2)], I did not receive these documents until after the New York Times at the start of the next week on Monday, July 23, 2018   

To put these continued illegal abuses in a statutory context, as per 5 U S C § 552a(i)(1):

        “Any officer or employee of an agency, who by virtue of his employment or official position, has possession of, or access to, agency records which contain individually
        identifiable information the disclosure of which is prohibited by this section or by rules or regulations established thereunder, and who knowing that disclosure of the
        specific material is so prohibited, willfully discloses the material in any manner to any person or agency not entitled to receive it, shall be guilty of a misdemeanor and
        fined not more than $5,000.”

In accordance with these aforementioned statutory citations as well as other related laws, rules and regulations, the U S Government was not entitled to bestow higher priority for receipt of
my personal information to the New York Times and other favored media outlets, particularly since I was never granted any chance to amend it in accordance with 5 U S C § 552a(d)(2)
As I have alluded to previously, this statutory clause (Id.) explicitly guarantees that agencies shall: “permit the individual to request amendment of a record pertaining to him ” Although
many proven liars have allegedly been talking about and contributing as witnesses to the forthcoming IG report which relates to their prior corrupt FISA warrants against President Trump
and me, I have never been permitted any such opportunity to review the false information pertaining to me which they have provided to DOJ In the case of the New York Times’ illegally-
revealed FISA warrants from July 21, 2018, the selective redactions also allowed for outrageous disclosures that untrustworthy people like McCabe and Comey had forever branded me as
an “Agent of Russia” or an “agent of a foreign power” while leaving completely blacked-out all of their nonsensical specific bases upon which these false allegations were made on behalf
of the DNC and their political beneficiaries in the first place   

I can appreciate that these prior unfortunate crimes occurred during the Rosenstein-Sessions era at DOJ when FISA-related lawlessness ran rampant within the Department The prior
correspondence that I sent to you and Rod Rosenstein on July 23, 2017 (infra) came less than one month after that former Deputy Attorney General filed his fraudulent FISA affidavit
against me on or about June 29, 2017 However, I know that Attorney General Barr, Inspector General Horowitz and the U S Attorneys for Connecticut and D C have more recently
begun work on restoring rule of law in this country Specific to the Privacy Act of 1974 and consistent with that return to conscionable practices, last week's IG report specifically
recognized the importance of actually following this important law:


       Comey’s interest in communicating with his counsel must be balanced against the government's legitimate interest in protecting its information and preventing disclosure of
       certain types of information, such as national security or Privacy Act-protected information [Martin v Lauer, 686 F 2d 24, 34 (D C Cir 1982) ]
       [Emphasis added ]

In that 1982 Martin case cited by the IG last week (supra), the D C Circuit found in favor of the Plaintiffs In a subsequent appearance by those parties before the court, Judge Edwards of
the D C Circuit again ordered further proceedings by remanding the case to the district court and also noted:

       "the defendants finally asked some particular questions of the plaintiffs and it became even clearer that the Privacy Act was a bogus issue At oral argument before us during this
       appeal, the defendants conceded that they could have made these inquiries early in the trial proceedings Instead of doing so, they raised the Privacy Act defense (without any
       legitimate basis for concern), argued its relevance, and forced the plaintiffs to spend time responding to it
       On these facts, we can discern no reason for denying the plaintiffs compensation for time spent on this issue ”
       [Martin v Lauer, 740 F 2d 36 (D C Cir 1984) ]

In stark contrast, what I previously sent to you, Mr Rosenstein and your colleagues at DOJ with my early Privacy Act submissions of May 2017 and related appeal of July 2017 (attached),
made it explicitly clear how this was not a "bogus issue" in my case while illustrating the significant "legitimate basis for concern” Early in our proceedings, see in particular ¶ 1 from
my July 2017 Expedited Processing letter related to the “imminent threat to the life or physical safety” which directly stemmed from the DNC-FBI-DOJ inspired terror threats from
Oklahoma (18 U S C § 2331) and elsewhere which I have survived – a causal result of the specific false allegations from the Dodgy Dossier repeatedly used by these co-conspirators As a
direct cause of these imminent threats to life, the continued disinformation from the Democrats and the dishonest mainstream media stemming from false or incomplete reports helps to
underscore the importance of a return to the rule of law in DOJ's future compliance with 5 U S C § 552a(d)(2)

Thanks in advance for your kind consideration of this urgent matter, and I look forward to hearing from you soon

Best regards,
Carter Page


From: Carter Page <
Date: Sunday July 23 2017 at 11 21 PM
To: "Davis Kolan (Judiciary-Rep)" <Kolan Davis@judiciary-rep.senate.gov> "Ansell Fred (Judiciary-Rep)" <Fred Ansell@judiciary-rep.senate.gov> "Kelly Tim (Judiciary-Rep)" <Tim Kelly@judiciary-rep.senate.gov> "Levine
Beth (Judiciary-Rep)" <Beth Levine@judiciary-rep.senate.gov>
Subject: FW Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Dear staff members of the Senate Judiciary Committee

FYI attached – correspondence to DoJ tonight requesting expedited disclosure of many of the same documents which Senator Grassley and Senator Graham have been requesting. I believe some of the extensive facts presented in my letter
help to further underscore the critical importance of immediately resolving the severe injustices and civil rights abuses carried out by the Obama Administration during last year s election. Thanks again for your Committee s leadership in this
essential quest.

Best regards

Carter Page
Managing Partner
Global Energy Capital LLC
590 Madison Ave., 21st floor




From: Carter Page
Date: Sunday July 23 2017 at 11 00 PM
To: "USDOJ-Office of Legal Counsel (SMO)" <USDOJ-OfficeofLegalCounsel@usdoj.gov>
Cc: Rod Rosenstein <rod.rosenstein@usdoj.gov> <melanie.a.pustay@usdoj.gov> "DoJ Civil Rights Division Voting Section" <voting.section@usdoj.gov> <ogis@nara.gov> <alina.semo@nara.gov>
<Sarah.Isgur.Flores@usdoj.gov>
Subject: Re Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Dear Mr. Colborn and members of the U.S. Department of Justice's Office of Legal Counsel team

Please see attached my request and appeal for Expedited Processing on FOIA Tracking No. FY17-245 and EOUSA-2017-001754. I believe the extensive information provided herein should prove of great importance to the U.S.
Department of Justice and the American public and help facilitate the essential work you are now doing in response to these essential FOIA requirements.

Related to your suggestion that I might contact the Office of Government Information Services at the National Archives and Records Administration and the Director of the Office of Information at the U.S. Department of
Justice for further assistance I have copied both on this correspondence in the hope that they might be able to provide some additional support to this essential process of restoring justice in America. In addition I have also
included Deputy Attorney General Rod Rosenstein and the Voting Section of the U.S. Department of Justice Civil Rights Division with whom I have been in touch previously regarding these severe efforts to rig the 2016
election and the associated civil rights abuses by the Clinton-Obama-Comey regime against me. Given the impact of the intense interest in the highly misleading Russia stories on the Department of Justice thanks to the media
including throughout this weekend and the way the true story of what the Clinton-Obama-Comey regime did could help resolve this national confusion I have included your Director of Public Affairs too.

I certify that to the best of my knowledge and belief all of the information in the attached letter is correct.
                   Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 10 of 27


           
Thank you in advance for your consideration and continued help in this essential matter. I look forward to seeing the results of the critically important work that you and your colleagues at the U.S. Department of Justice are
doing in this regard.

Best regards

Carter Page
Managing Partner
Global Energy Capital LLC



         




From: "USDOJ-Office of Legal Counsel (SMO)" <USDOJ-OfficeofLegalCounsel@usdoj gov>
Date: Friday July 21 2017 at 5 25 PM
To: Carter Page
Cc: "USDOJ-Office of Legal Counsel (SMO)" <USDOJ-OfficeofLegalCounsel@usdoj.gov>
Subject: RE Ack for FOIA Request OLC FY17-245

Mr. Page
Melissa is out of the office today but please see the attached response to your inquiries.

Jared Kaprove
FOIA and Records Management Attorney
Office of Legal Counsel
U.S. Department of Justice




From: Carter Page
Sent: Thursday July 20 2017 20 16
To: USDOJ-Office of Legal Counsel (SMO) <Ex OLC@jmd.usdoj.gov>
Subject: Re Ack for FOIA Request OLC FY17-245

Melissa

Can we please have a conversation about this tomorrow? I can appreciate that your office has been inundated with various requests on a diverse range of random issues.

However since the focus of my request has been at the center of one of the biggest controversies rocking our country right now based on severe lies of critical historic relevance it seems to me that this should somehow be
elevated in terms of priority. Please let me know the best number to reach you on and when might be a convenient time to talk.

Thanks
Carter

Sent from my iPhone

On Jul 20 2017 at 4 36 PM USDOJ-Office of Legal Counsel (SMO) <USDOJ-OfficeofLegalCounsel@usdoj.gov> wrote

            Dear Mr. Page

            Attached please find the acknowledgement letter for your FOIA request that has been assigned tracking number OLC FY17-245.

            Sincerely,
            Melissa Golden, Esq.
            Lead Paralegal and FOIA Specialist
            Office of Legal Counsel
            Department of Justice
            Please note my new last name (formerly Kassier)

            <Ack 17-245.pdf>
Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 11 of 27




               Malis Decl. Exhibit B
               Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 12 of 27


From:           Horowitz, M chael E.(OIG)
To:             O"Ne ll, Michael S. (OIG); Blier, William M.(OIG); Malis, Jonathan M. (OIG)
Subject:        FW: FISA abuse IG report - appropriate 5 U.S.C. § 552a(d)(2) rev ews for accuracy and comment purposes
Date:           Sunday, September 15, 2019 2:41:12 PM
Attachments:    2019.09.13.02 - IG letter to Congress.png
                2019.09.13.01 - IG letter to Congress.png



FYI

From: Carter Page
Sent: Friday, September 13, 2019 6:20 PM
To: Winn, Peter A (OPCL) <pawinn@jmd usdoj gov>; Privacy (SMO) <Ex_PrivacySOBO@jmd usdoj gov>
Cc: Horowitz, Michael E (OIG) <mhorowitz@OIG USDOJ GOV>; Smith, James M (OIP) <jmsmith@jmd usdoj gov>; Hurd, Matthew (OIP) <mhurd@jmd usdoj gov>; Pustay, Melanie A (OIP)
<mpustay@jmd usdoj gov>; USDOJ-Office of Legal Counsel (SMO) <Ex_OLC@jmd usdoj gov>; FOIArequests, CRT (CRT) <CRT FOIArequests@crt usdoj gov>; Mallory, Arnetta (NSD)
<amallory@jmd usdoj gov>; ogis@nara gov; Zachary ("Zach") Somers <zach_somers@judiciary-rep senate gov>; Davis, Kolan (Judiciary-Rep) <Kolan_Davis@judiciary-rep senate gov>;
peter_carey@judiciary-rep senate gov; erin_creegan@judiciary-rep senate gov; aaron_cummings@judiciary-rep senate gov; ryan_dattilo@judiciary-rep senate gov; richard_dizinno@judiciary-
rep senate gov; josh_flynn-brown@judiciary-rep senate gov; steve_kenny@judiciary-rep senate gov; barbara_ledeen@judiciary-rep senate gov; kyle_mccollum@judiciary-rep senate gov;
lauren_mehler@judiciary-rep senate gov; katherine_nikas@judiciary-rep senate gov; jessica_vu@judiciary-rep senate gov; theo_wold@judiciary-rep senate gov; lee_holmes@judiciary-rep senate gov
Subject: Re: FISA abuse IG report - appropriate 5 U S C § 552a(d)(2) reviews for accuracy and comment purposes

Dear Mr Winn and Ms Harman-Stokes:

I am writing to follow up on my prior messages given the latest developments which have been reported this afternoon As you may already be aware, Inspector General
Horowitz has sent the letter below to Chairman Graham and other senior Congressional leaders earlier today As noted herein, he has again underscored the essential need
to ensure that the forthcoming FISA abuse report receives "appropriate reviews for accuracy and comment purposes” In this regard and along the lines of my preceding
correspondence, it seems like another step in the right direction towards finally returning DOJ to 5 U S C § 552a(d)(2) compliance in this belated instance   

I will be in meetings in Oklahoma City throughout much of the day on Monday, but please let me know when would be convenient time to discuss Have a nice weekend
and I look forward to speaking with you

Kind regards,
Carter Page, Ph D
Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 13 of 27
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Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 15 of 27
           Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 16 of 27


Dear Mr Winn and Ms Harman-Stokes:

Based on my discussions with the DOJ’s Office of Information Policy today, I have been referred to your Office of Privacy and Civil Liberties as the more appropriate
point of contact for the resolution of the historic abuses which relate to the continued Privacy Act of 1974 violations by the Department Please see my two recent emails
below and the associated attachments

By way of introduction and along the lines of the inequities briefly outlined in my prior correspondence, the latest criminal leaks on p. A1 of today's New York Times have further
exposed the continued pattern of the dual justice system at DOJ and other elements of the U S Intelligence Community, relating to unresolved crimes surrounding the
FISA abuse against the Trump movement including myself As further described in the associated description and references sent to OIP below, this is the same
newspaper which illegally received my redacted FISA warrants prior to me in violation of the Privacy Act statute In this latest instance, another Government informant
has been revealed as not only receiving special treatment but also allegedly getting a luxurious taxpayer-funded mansion to boot:

https://www rferl org/a/virginia-residents-question-whether-their-neighbor-was-a-russian-informant/30157496 html  

        Per my correspondence with OIP below and as the most specific pressing issue that should be addressed immediately, I have been trying to ensure DOJ's necessary
change to future compliance with 5 U S C § 552a(d)(2) which permits individuals "to request amendment of a record pertaining to him” I have been requesting and
waiting for that to happen for years already By comparison and within hours of today's headline story first breaking, Secretary of State Pompeo very promptly made clear
that today’s aforementioned new reports were “materially inaccurate” at this afternoon’s White House press briefing Given my long history as another U S Intelligence
Community source whose life was unnecessarily put in danger, I have been waiting for over three years for the U S Government to resolve these inaccuracies which have
thus far led to countless terror threats in the process As of yet, the only people who have taken any visible steps to resolve this unchecked criminal activity has been seen
in the initial investigations by senior Congressional leaders including Senate Judiciary Chairman Lindsey Graham

As noted in today’s lead story in the New York Times, “officials worried about safety made the arduous decision in late 2016 to offer to extract the source” This is the
polar opposite of the continued non-action by the FBI, DOJ and other agencies of the U S Intelligence Community in the face of many death threats I have faced from
Oklahoma and elsewhere, stemming from the DNC-FBI-DOJ’s well-funded disinformation campaign which began in 2016 For example, please see one of my letters to
FBI Director Wray this year - Exhibit 1 in this court filing: https://assets documentcloud org/documents/5720862/Notice-other pdf  

Please let me know as soon as possible when you are available to urgently discuss this matter I look forward to hearing your suggestions for the immediate resolution of
this historic mess and returning to some semblance of legality with respect to the Privacy Act of 1974

Kind regards,
Carter Page, Ph D

From: Carter Page
Date: Monday, September 9, 2019 at 6:34 AM
To: "Pustay, Melanie A (OIP)" <Melanie A Pustay@usdoj gov>
Cc: "Michael E Horowitz" <Michael e horowitz@usdoj gov>, "John H Durham" <john durham@usdoj gov>, Jessie Liu <jessie liu@usdoj gov>, "Kochurka, Kimberley (OIP)" <Kimberley Kochurka@usdoj gov>,
"Smith, James M (OIP)" <James M Smith@usdoj gov>, USDOJ-Office of Legal Counsel <USDOJ-OfficeofLegalCounsel@usdoj gov>, "FOIArequests, CRT (CRT)" <CRT FOIArequests@usdoj gov>, "Mallory,
Arnetta (NSD)" <Arnetta Mallory@usdoj gov>, <ogis@nara gov>, <privacy@usdoj gov>, "Zachary (\"Zach\") Somers" <zach somers@judiciary-rep senate gov>, "Davis, Kolan (Judiciary-Rep)"
<Kolan Davis@judiciary-rep senate gov>, <peter carey@judiciary-rep senate gov>, <erin creegan@judiciary-rep senate gov>, <aaron cummings@judiciary-rep senate gov>, <ryan dattilo@judiciary-
rep senate gov>, <richard dizinno@judiciary-rep senate gov>, <josh flynn-brown@judiciary-rep senate gov>, <steve kenny@judiciary-rep senate gov>, <barbara ledeen@judiciary-rep senate gov>,
<marc marie@judiciary-rep senate gov>, <kyle mccollum@judiciary-rep senate gov>, <lauren mehler@judiciary-rep senate gov>, <katherine nikas@judiciary-rep senate gov>,
<brian simonsen@judiciary-rep senate gov>, <jessica vu@judiciary-rep senate gov>, <katharine willey@judiciary-rep senate gov>, <theo wold@judiciary-rep senate gov>
Subject: Re: Expedited Processing Requested on FOIA Tracking No FY17-245 and EOUSA-2017-001754

Dear Ms Pustay:

I wanted to check with you on the status of my pending Privacy Act request, below Given the time-sensitive nature of this matter and the widely expected public release
of the summaries by the Inspector General relating to the illegal systems of record pertaining to me, please let me know at your earliest convenience the preferred timeline
for resolving these open issues and ensuring DOJ’s return to Privacy Act compliance with regard to the IG’s forthcoming FISA abuse report

As a further related reference in addition to the documents I have re-sent you last week, attached to this email is the other initial Privacy Act request which I had also
simultaneously delivered to the appropriate office at DOJ in May 2017 during the Rosenstein-Sessions era Consistent with DOJ's aforementioned Privacy Act
noncompliance in the premature disclosure of my personal records to New York Times in July 2018, please note that the Mueller report sections about me similarly
misrepresented my prior support of the FBI as a government informant [in particular, see the highly inaccurate portrayal of my support of the FBI as falsely described in
Volume 1, pp 96-97 regarding Russian diplomats including Victor Podobnyy, et al] It is worth noting that the majority of Mr Mueller's partisan DOJ team members
who aggressively interrogated me for his misinformation campaign were also financial contributors to the Democrat-initiated FISA abuse enterprise which helped fund the
“opposition research” operation that may form part of the subject matter of the forthcoming IG report

Please note that the current edition of DOJ’s standards regarding Privacy Act subsections (d)(2) amendment compliance focuses on the following precedent:


       Clarkson v IRS, 678 F 2d 1368, 1376-77 (11th Cir 1982) (maintaining that although subsections (e)(1) and (e)(5) apply only to records contained in a system of
      records, “find[ing] it both necessary and appropriate to construe the plain meaning of the language of subsections (d)(2) and (d)(3) to authorize the amendment or
      expungement of all records which are maintained in violation of subsection (e)(7)”)
      https://www justice gov/opcl/definitions#access  


As you are undoubtedly aware regarding this necessary and appropriate compliance, subsection (e)(7) clearly guarantees that the government shall:


      maintain no record describing how any individual exercises rights guaranteed by the First Amendment unless expressly authorized by statute or by
      the individual about whom the record is maintained or unless pertinent to and within the scope of an authorized law enforcement activity;


Whereas you probably have less familiarity with the relevant FISA statutes, please note that the text of this subsection (e)(7) runs parallel to another closely related
authority which the DNC-FBI-DOJ’s FISA abuse enterprise also flagrantly violated in 2016-2017 – specifically, 50 U S Code § 1805(a)(2)(A): “no United States person
may be considered a foreign power or an agent of a foreign power solely upon the basis of activities protected by the first amendment to the Constitution of the United
States”

For your reference and along these same lines, please see my attached 2nd Circuit brief which addresses these related First Amendment considerations – in particular, § 9
beginning on p 44 (ECF p 51-54), entitled: “U.S. Constitution Guarantees Equal Justice Under Law for Private Citizens as Well as… Large Federal
Departments” As indicated herein and with respect to the U S Government-funded defamatory propaganda attacks that supported Yahoo's infamous false report which
directly supported the government’s FISA abuse as confirmed in the shocking Grassley-Graham memo, this dual justice system has thus far continued and I hope we can
now change that longstanding pattern by ensuring DOJ’s compliance in the upcoming planned disclosures

Thanks again for your consideration I look forward to resolving this with you and your colleagues in the coming days

Best regards,
          Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 17 of 27


Carter Page

From: Carter Page <
Date: Tuesday, September 3, 2019 at 1:00 PM
To: "Pustay, Melanie A (OIP)" <Melanie A Pustay@usdoj gov>
Cc: "Michael E Horowitz" <Michael e horowitz@usdoj gov>, "John H Durham" <john durham@usdoj gov>, Jessie Liu <jessie liu@usdoj gov>, "Kochurka, Kimberley
(OIP)" <Kimberley Kochurka@usdoj gov>, "Smith, James M (OIP)" <James M Smith@usdoj gov>, USDOJ-Office of Legal Counsel <USDOJ-
OfficeofLegalCounsel@usdoj gov>, "FOIArequests, CRT (CRT)" <CRT FOIArequests@usdoj gov>, "Mallory, Arnetta (NSD)" <Arnetta Mallory@usdoj gov>,
<ogis@nara gov>, "Davis, Kolan (Judiciary-Rep)" <Kolan_Davis@judiciary-rep senate gov>, <peter_carey@judiciary-rep senate gov>, <erin_creegan@judiciary-
rep senate gov>, <aaron_cummings@judiciary-rep senate gov>, <ryan_dattilo@judiciary-rep senate gov>, <richard_dizinno@judiciary-rep senate gov>, <josh_flynn-
brown@judiciary-rep senate gov>, <steve_kenny@judiciary-rep senate gov>, <barbara_ledeen@judiciary-rep senate gov>, <marc_marie@judiciary-rep senate gov>,
<kyle_mccollum@judiciary-rep senate gov>, <lauren_mehler@judiciary-rep senate gov>, <katherine_nikas@judiciary-rep senate gov>, <brian_simonsen@judiciary-
rep senate gov>, <jessica_vu@judiciary-rep senate gov>, <katharine_willey@judiciary-rep senate gov>, <theo_wold@judiciary-rep senate gov>
Subject: FW: Expedited Processing Requested on FOIA Tracking No FY17-245 and EOUSA-2017-001754

Dear Ms Pustay:

I am following up on my prior correspondence with you and your OIP colleagues from July 2017 (please see below/attached) On a news show yesterday and directly
related to our prior exchanges from years ago, U S Senate Judiciary Chairman Graham noted: "Lindsey Graham presses DOJ to declassify Carter Page FISA
process”: https://www washingtonexaminer com/news/lindsey-graham-presses-doj-to-declassify-carter-page-fisa-process   

As you are undoubtedly aware, 5 U S C § 552a(d)(2) requires that DOJ “permit the individual to request amendment of a record pertaining to him” prior to public
disclosure Throughout the time since my first related initial letter that I sent to DOJ over 27 months ago (also attached), I have still not had any of my Privacy Act-related
requests fulfilled by the Justice Department in accordance with the law

I am entirely open to declassification of this fraudulent Russian disinformation found in my illegal FISA warrants which was originally funneled to the Justice Department
by DNC consultants including Nellie Ohr and Christopher Steele Like Chairman Graham, I am also eager to see this completed as soon as possible But it seems to me
that now might be a good time for DOJ to start following the law as part of that process (Privacy Act of 1974, et al)

On or before Saturday, July 21, 2018 and in direct violation of the Privacy Act, the FBI and/or DOJ illegally released my partially-redacted and highly misleading FISA
affidavits to the New York Times [https://www nytimes com/2018/07/21/us/politics/carter-page-fisa html]    In our two-tiered justice system, both this newspaper and Mr
Comey have clearly been given unconscionable special treatment Not only was I never previously afforded my legal right to amend my own record record pertaining to
me beforehand which I had requested on many earlier occasions for over a year [5 U S C § 552a(d)(2)], I did not receive these documents until after the New York
Times at the start of the next week on Monday, July 23, 2018   

To put these continued illegal abuses in a statutory context, as per 5 U S C § 552a(i)(1):

      “Any officer or employee of an agency, who by virtue of his employment or official position, has possession of, or access to, agency records which contain
      individually identifiable information the disclosure of which is prohibited by this section or by rules or regulations established thereunder, and who
      knowing that disclosure of the specific material is so prohibited, willfully discloses the material in any manner to any person or agency not entitled to
      receive it, shall be guilty of a misdemeanor and fined not more than $5,000.”

In accordance with these aforementioned statutory citations as well as other related laws, rules and regulations, the U S Government was not entitled to bestow higher
priority for receipt of my personal information to the New York Times and other favored media outlets, particularly since I was never granted any chance to amend it in
accordance with 5 U S C § 552a(d)(2) As I have alluded to previously, this statutory clause (Id.) explicitly guarantees that agencies shall: “permit the individual to
request amendment of a record pertaining to him ” Although many proven liars have allegedly been talking about and contributing as witnesses to the forthcoming IG
report which relates to their prior corrupt FISA warrants against President Trump and me, I have never been permitted any such opportunity to review the false
information pertaining to me which they have provided to DOJ In the case of the New York Times’ illegally-revealed FISA warrants from July 21, 2018, the selective
redactions also allowed for outrageous disclosures that untrustworthy people like McCabe and Comey had forever branded me as an “Agent of Russia” or an “agent of a
foreign power” while leaving completely blacked-out all of their nonsensical specific bases upon which these false allegations were made on behalf of the DNC and their
political beneficiaries in the first place   

I can appreciate that these prior unfortunate crimes occurred during the Rosenstein-Sessions era at DOJ when FISA-related lawlessness ran rampant within the
Department The prior correspondence that I sent to you and Rod Rosenstein on July 23, 2017 (infra) came less than one month after that former Deputy Attorney General
filed his fraudulent FISA affidavit against me on or about June 29, 2017 However, I know that Attorney General Barr, Inspector General Horowitz and the U S Attorneys
for Connecticut and D C have more recently begun work on restoring rule of law in this country Specific to the Privacy Act of 1974 and consistent with that return to
conscionable practices, last week's IG report specifically recognized the importance of actually following this important law:


     Comey’s interest in communicating with his counsel must be balanced against the government's legitimate interest in protecting its information and preventing
     disclosure of certain types of information, such as national security or Privacy Act-protected information [Martin v Lauer, 686 F 2d 24, 34 (D C Cir
     1982) ]
     [Emphasis added ]

In that 1982 Martin case cited by the IG last week (supra), the D C Circuit found in favor of the Plaintiffs In a subsequent appearance by those parties before the court,
Judge Edwards of the D C Circuit again ordered further proceedings by remanding the case to the district court and also noted:


     "the defendants finally asked some particular questions of the plaintiffs and it became even clearer that the Privacy Act was a bogus issue At oral argument before us
     during this appeal, the defendants conceded that they could have made these inquiries early in the trial proceedings Instead of doing so, they raised the Privacy Act
     defense (without any legitimate basis for concern), argued its relevance, and forced the plaintiffs to spend time responding to it
     On these facts, we can discern no reason for denying the plaintiffs compensation for time spent on this issue…”
     [Martin v Lauer, 740 F 2d 36 (D C Cir 1984) ]


In stark contrast, what I previously sent to you, Mr Rosenstein and your colleagues at DOJ with my early Privacy Act submissions of May 2017 and related appeal of July
2017 (attached), made it explicitly clear how this was not a "bogus issue" in my case while illustrating the significant "legitimate basis for concern” Early in our
proceedings, see in particular ¶ 1 from my July 2017 Expedited Processing letter related to the “imminent threat to the life or physical safety” which directly stemmed
from the DNC-FBI-DOJ inspired terror threats from Oklahoma (18 U S C § 2331) and elsewhere which I have survived – a causal result of the specific false allegations
from the Dodgy Dossier repeatedly used by these co-conspirators As a direct cause of these imminent threats to life, the continued disinformation from the Democrats
and the dishonest mainstream media stemming from false or incomplete reports helps to underscore the importance of a return to the rule of law in DOJ's future
compliance with 5 U S C § 552a(d)(2)

Thanks in advance for your kind consideration of this urgent matter, and I look forward to hearing from you soon

Best regards,
Carter Page
               Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 18 of 27



From: Carter Page <
Date: Sunday, July 23, 2017 at 11:21 PM
To: "Davis, Kolan (Judiciary-Rep)" <Kolan Davis@judiciary-rep senate gov>, "Ansell, Fred (Judiciary-Rep)" <Fred Ansell@judiciary-rep senate gov>, "Kelly, Tim (Judiciary-Rep)" <Tim Kelly@judiciary-
rep senate gov>, "Levine, Beth (Judiciary-Rep)" <Beth Levine@judiciary-rep senate gov>
Subject: FW: Expedited Processing Requested on FOIA Tracking No FY17-245 and EOUSA-2017-001754

Dear staff members of the Senate Judiciary Committee

FYI attached – correspondence to DoJ tonight requesting expedited disclosure of many of the same documents which Senator Grassley and Senator Graham have been requesting. I believe some of the extensive facts
presented in my letter help to further underscore the critical importance of immediately resolving the severe injustices and civil rights abuses carried out by the Obama Administration during last year s election. Thanks
again for your Committee s leadership in this essential quest.

Best regards

Carter Page
Managing Partner
Global Energy Capital LLC



         




From: Carter Page
Date: Sunday, July 23, 2017 at 11:00 PM
To: "USDOJ-Office of Legal Counsel (SMO)" <USDOJ-OfficeofLegalCounsel@usdoj gov>
Cc: Rod Rosenstein <rod rosenstein@usdoj gov>, <melanie a pustay@usdoj gov>, "DoJ Civil Rights Division, Voting Section" <voting section@usdoj gov>, <ogis@nara gov>, <alina semo@nara gov>,
<Sarah Isgur Flores@usdoj gov>
Subject: Re: Expedited Processing Requested on FOIA Tracking No FY17-245 and EOUSA-2017-001754

Dear Mr Colborn and members of the U S Department of Justice's Office of Legal Counsel team:

Please see attached my request and appeal for Expedited Processing on FOIA Tracking No FY17-245 and EOUSA-2017-001754 I believe the extensive information provided herein should prove of great
importance to the U S Department of Justice and the American public, and help facilitate the essential work you are now doing in response to these essential FOIA requirements

Related to your suggestion that I might contact the Office of Government Information Services at the National Archives and Records Administration and the Director of the Office of Information at the U S
Department of Justice for further assistance, I have copied both on this correspondence in the hope that they might be able to provide some additional support to this essential process of restoring justice
in America In addition, I have also included Deputy Attorney General Rod Rosenstein and the Voting Section of the U S Department of Justice Civil Rights Division, with whom I have been in touch
previously regarding these severe efforts to rig the 2016 election and the associated civil rights abuses by the Clinton-Obama-Comey regime against me Given the impact of the intense interest in the
highly misleading Russia stories on the Department of Justice thanks to the media including throughout this weekend and the way the true story of what the Clinton-Obama-Comey regime did could help
resolve this national confusion, I have included your Director of Public Affairs too

I certify that to the best of my knowledge and belief all of the information in the attached letter is correct
           
Thank you in advance for your consideration and continued help in this essential matter I look forward to seeing the results of the critically important work that you and your colleagues at the U S
Department of Justice are doing in this regard

Best regards,

Carter Page
Managing Partner
Global Energy Capital LLC



         




From: "USDOJ-Office of Legal Counsel (SMO)" <USDOJ-OfficeofLegalCounsel@usdoj gov>
Date: Friday, July 21, 2017 at 5:25 PM
To: Carter Page
Cc: "USDOJ-Office of Legal Counsel (SMO)" <USDOJ-OfficeofLegalCounsel@usdoj gov>
Subject: RE: Ack for FOIA Request, OLC FY17-245

Mr Page:
Melissa is out of the office today, but please see the attached response to your inquiries

Jared Kaprove
FOIA and Records Management Attorney
Office of Legal Counsel
U S Department of Justice




From: Carter Page
Sent: Thursday, July 20, 2017 20:16
To: USDOJ-Office of Legal Counsel (SMO) <Ex OLC@jmd usdoj gov>
Subject: Re: Ack for FOIA Request, OLC FY17-245

Melissa,

Can we please have a conversation about this tomorrow? I can appreciate that your office has been inundated with various requests on a diverse range of random issues

However, since the focus of my request has been at the center of one of the biggest controversies rocking our country right now based on severe lies of critical historic relevance, it seems to me that this
should somehow be elevated in terms of priority Please let me know the best number to reach you on and when might be a convenient time to talk

Thanks
Carter

Sent from my iPhone
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On Jul 20, 2017, at 4:36 PM, USDOJ-Office of Legal Counsel (SMO) <USDOJ-OfficeofLegalCounsel@usdoj gov> wrote:

      Dear Mr Page:

      Attached, please find the acknowledgement letter for your FOIA request that has been assigned tracking number OLC FY17-245

      Sincerely,
      Melissa Golden, Esq
      Lead Paralegal and FOIA Specialist
      Office of Legal Counsel
      Department of Justice
      Please note my new last name (formerly Kassier)

      <Ack 17-245 pdf>
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               Malis Decl. Exhibit C
Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 21 of 27
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purposes This runs contrary to both: (A) the legal tenets enumerated in the previously cited 5 U S C § 552a(d)(2) subsection that allows for amendment of
government records pertaining to an individual as I had requested long ago, and (B) Inspector General Horowitz’s September 13 letter to Senate Judiciary
Chairman Lindsey Graham and other Congressional leaders that indicated his assurance that “appropriate reviews occur for accuracy and comment
purposes” would occur prior to release of the forthcoming FISA abuse report By all indications and in accordance with the Privacy Act statute, no other
such possible review by anyone else seems as critically important as the one that I am awaiting to eventually conduct

As the most urgent matter related to your request this afternoon, please let me know as soon as possible the appropriate methods for completing this review
of the FISA abuse Inspector General report draft In prior years amidst this ongoing saga, contacts within OIP had previously suggested that I file a civil
action in a U S District Court as a potential remedy to this continued impasse I hope we can avoid this less efficient process, but I would be willing to
proceed down such a cumbersome litigation path if there is no other way to finally ensure Privacy Act compliance at this juncture   

Kind regards,
Carter Page   

From: "Privacy (SMO)" <Privacy@usdoj gov>
Date: Thursday October 10 2019 at 1 47 PM
To:
Subject: RE Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Mr. Page

The Office of Privacy and Civil Liberties of the Department of Justice oversees compliance with privacy-related federal laws regulations and policies within the Department. If you are claiming that the a component of
the Justice Department violated the Privacy Act please provide concise details.

Thank you

Office of Privacy and Civil Liberties
United States Department of Justice

From: Carter Page <
Sent: Tuesday September 10 2019 6 24 PM
To: Peter Winn <Peter.Winn@usdoj.gov>; Privacy (SMO) <Ex PrivacySOBO@jmd.usdoj.gov>
Cc: Horowitz Michael E.(OIG) <mhorowitz@OIG.USDOJ.GOV>; Durham John (USACT) <JDurham@usa.doj.gov>; Liu Jessie (USADC) <JLiu3@usa.doj.gov>; Smith James M. (OIP) <jmsmith@jmd.usdoj.gov>; Hurd
Matthew (OIP) <mhurd@jmd.usdoj.gov>; Pustay Melanie A (OIP) <mpustay@jmd.usdoj.gov>; USDOJ-Office of Legal Counsel (SMO) <Ex OLC@jmd.usdoj.gov>; FOIArequests CRT (CRT)
<CRT.FOIArequests@crt.usdoj.gov>; Mallory Arnetta (NSD) <amallory@jmd.usdoj.gov>; ogis@nara.gov; Zachary ("Zach") Somers <zach somers@judiciary-rep.senate.gov>; Davis Kolan (Judiciary-Rep)
<Kolan Davis@judiciary-rep.senate.gov>; peter carey@judiciary-rep.senate.gov; erin creegan@judiciary-rep.senate.gov; aaron cummings@judiciary-rep.senate.gov; ryan dattilo@judiciary-rep.senate.gov;
richard dizinno@judiciary-rep.senate.gov; josh flynn-brown@judiciary-rep.senate.gov; steve kenny@judiciary-rep.senate.gov; barbara ledeen@judiciary-rep.senate.gov; kyle mccollum@judiciary-rep.senate.gov;
lauren_mehler@judiciary-rep senate gov; katherine_nikas@judiciary-rep senate gov; jessica_vu@judiciary-rep senate gov; theo_wold@judiciary-rep senate gov; lee_holmes@judiciary-rep senate gov; Cecilia Bessee
<Cecilia.Bessee@ic.fbi.gov>; Bessee Cecilia O. (OGC) (FBI) <COBessee@fbi.gov>
Subject: Re Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Dear Mr Winn and Ms Harman-Stokes:

Based on my discussions with the DOJ’s Office of Information Policy today, I have been referred to your Office of Privacy and Civil Liberties as the more appropriate point of
contact for the resolution of the historic abuses which relate to the continued Privacy Act of 1974 violations by the Department Please see my two recent emails below and the
associated attachments

By way of introduction and along the lines of the inequities briefly outlined in my prior correspondence, the latest criminal leaks on p. A1 of today's New York Times have further exposed the
continued pattern of the dual justice system at DOJ and other elements of the U S Intelligence Community, relating to unresolved crimes surrounding the FISA abuse against the
Trump movement including myself As further described in the associated description and references sent to OIP below, this is the same newspaper which illegally received my
redacted FISA warrants prior to me in violation of the Privacy Act statute In this latest instance, another Government informant has been revealed as not only receiving special
treatment but also allegedly getting a luxurious taxpayer-funded mansion to boot:

https://www rferl org/a/virginia-residents-question-whether-their-neighbor-was-a-russian-informant/30157496 html  

       Per my correspondence with OIP below and as the most specific pressing issue that should be addressed immediately, I have been trying to ensure DOJ's necessary change
to future compliance with 5 U S C § 552a(d)(2) which permits individuals "to request amendment of a record pertaining to him” I have been requesting and waiting for that to
happen for years already By comparison and within hours of today's headline story first breaking, Secretary of State Pompeo very promptly made clear that today’s aforementioned
new reports were “materially inaccurate” at this afternoon’s White House press briefing Given my long history as another U S Intelligence Community source whose life was
unnecessarily put in danger, I have been waiting for over three years for the U S Government to resolve these inaccuracies which have thus far led to countless terror threats in the
process As of yet, the only people who have taken any visible steps to resolve this unchecked criminal activity has been seen in the initial investigations by senior Congressional
leaders including Senate Judiciary Chairman Lindsey Graham

As noted in today’s lead story in the New York Times, “officials worried about safety made the arduous decision in late 2016 to offer to extract the source” This is the polar opposite
of the continued non-action by the FBI, DOJ and other agencies of the U S Intelligence Community in the face of many death threats I have faced from Oklahoma and elsewhere,
stemming from the DNC-FBI-DOJ’s well-funded disinformation campaign which began in 2016 For example, please see one of my letters to FBI Director Wray this year - Exhibit 1
in this court filing: https //assets documentcloud org/documents/5720862/Notice-other pdf  

Please let me know as soon as possible when you are available to urgently discuss this matter I look forward to hearing your suggestions for the immediate resolution of this historic
mess and returning to some semblance of legality with respect to the Privacy Act of 1974

Kind regards,
Carter Page, Ph D

From: Carter Page <
Date: Monday September 9 2019 at 6 34 AM
To: "Pustay Melanie A (OIP)" <Melanie.A.Pustay@usdoj.gov>
Cc: "Michael E. Horowitz" <Michael.e.horowitz@usdoj.gov> "John H. Durham" <john.durham@usdoj.gov> Jessie Liu <jessie.liu@usdoj.gov> "Kochurka Kimberley (OIP)" <Kimberley.Kochurka@usdoj.gov> "Smith
James M. (OIP)" <James.M.Smith@usdoj.gov> USDOJ-Office of Legal Counsel <USDOJ-OfficeofLegalCounsel@usdoj.gov> "FOIArequests CRT (CRT)" <CRT.FOIArequests@usdoj.gov> "Mallory Arnetta (NSD)"
<Arnetta.Mallory@usdoj.gov> <ogis@nara.gov> <privacy@usdoj.gov> "Zachary (\"Zach\") Somers" <zach somers@judiciary-rep.senate.gov> "Davis Kolan (Judiciary-Rep)" <Kolan Davis@judiciary-rep.senate.gov>
<peter carey@judiciary-rep.senate.gov> <erin creegan@judiciary-rep.senate.gov> <aaron cummings@judiciary-rep.senate.gov> <ryan dattilo@judiciary-rep.senate.gov> <richard dizinno@judiciary-
rep.senate.gov> <josh flynn-brown@judiciary-rep.senate.gov> <steve kenny@judiciary-rep.senate.gov> <barbara ledeen@judiciary-rep.senate.gov> <marc marie@judiciary-rep.senate.gov>
<kyle_mccollum@judiciary-rep senate gov> <lauren_mehler@judiciary-rep senate gov> <katherine_nikas@judiciary-rep senate gov> <brian_simonsen@judiciary-rep senate gov> <jessica_vu@judiciary-
rep.senate.gov> <katharine willey@judiciary-rep.senate.gov> <theo wold@judiciary-rep.senate.gov>
Subject: Re Expedited Processing Requested on FOIA Tracking No. FY17-245 and EOUSA-2017-001754

Dear Ms Pustay:

I wanted to check with you on the status of my pending Privacy Act request, below Given the time-sensitive nature of this matter and the widely expected public release of the
summaries by the Inspector General relating to the illegal systems of record pertaining to me, please let me know at your earliest convenience the preferred timeline for resolving
these open issues and ensuring DOJ’s return to Privacy Act compliance with regard to the IG’s forthcoming FISA abuse report

As a further related reference in addition to the documents I have re-sent you last week, attached to this email is the other initial Privacy Act request which I had also simultaneously
delivered to the appropriate office at DOJ in May 2017 during the Rosenstein-Sessions era Consistent with DOJ's aforementioned Privacy Act noncompliance in the premature
disclosure of my personal records to New York Times in July 2018, please note that the Mueller report sections about me similarly misrepresented my prior support of the FBI as a
government informant [in particular, see the highly inaccurate portrayal of my support of the FBI as falsely described in Volume 1, pp 96-97 regarding Russian diplomats including
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Victor Podobnyy, et al] It is worth noting that the majority of Mr Mueller's partisan DOJ team members who aggressively interrogated me for his misinformation campaign were
also financial contributors to the Democrat-initiated FISA abuse enterprise which helped fund the “opposition research” operation that may form part of the subject matter of the
forthcoming IG report

Please note that the current edition of DOJ’s standards regarding Privacy Act subsections (d)(2) amendment compliance focuses on the following precedent:

      Clarkson v IRS, 678 F 2d 1368, 1376-77 (11th Cir 1982) (maintaining that although subsections (e)(1) and (e)(5) apply only to records contained in a system of records,
     “find[ing] it both necessary and appropriate to construe the plain meaning of the language of subsections (d)(2) and (d)(3) to authorize the amendment or expungement of all
     records which are maintained in violation of subsection (e)(7)”)
     https://www justice gov/opcl/definitions#access  

As you are undoubtedly aware regarding this necessary and appropriate compliance, subsection (e)(7) clearly guarantees that the government shall:

     maintain no record describing how any individual exercises rights guaranteed by the First Amendment unless expressly authorized by statute or by the individual about whom
     the record is maintained or unless pertinent to and within the scope of an authorized law enforcement activity;

Whereas you probably have less familiarity with the relevant FISA statutes, please note that the text of this subsection (e)(7) runs parallel to another closely related authority
which the DNC-FBI-DOJ’s FISA abuse enterprise also flagrantly violated in 2016-2017 – specifically, 50 U S Code § 1805(a)(2)(A): “no United States person may be considered a
foreign power or an agent of a foreign power solely upon the basis of activities protected by the first amendment to the Constitution of the United States”

For your reference and along these same lines, please see my attached 2nd Circuit brief which addresses these related First Amendment considerations – in particular, § 9 beginning
on p 44 (ECF p 51-54), entitled: “U.S. Constitution Guarantees Equal Justice Under Law for Private Citizens as Well as Large Federal Departments” As indicated herein
and with respect to the U S Government-funded defamatory propaganda attacks that supported Yahoo's infamous false report which directly supported the government’s FISA abuse
as confirmed in the shocking Grassley-Graham memo, this dual justice system has thus far continued and I hope we can now change that longstanding pattern by ensuring DOJ’s
compliance in the upcoming planned disclosures

Thanks again for your consideration I look forward to resolving this with you and your colleagues in the coming days

Best regards,
Carter Page

From: Carter Page <
Date: Tuesday, September 3, 2019 at 1 00 PM
To: "Pustay, Melanie A (OIP)" <Melanie A Pustay@usdoj gov>
Cc: "Michael E Horowitz" <Michael e horowitz@usdoj gov>, "John H Durham" <john durham@usdoj gov>, Jessie Liu <jessie liu@usdoj gov>, "Kochurka, Kimberley (OIP)"
<Kimberley Kochurka@usdoj gov>, "Smith, James M (OIP)" <James M Smith@usdoj gov>, USDOJ-Office of Legal Counsel <USDOJ-OfficeofLegalCounsel@usdoj gov>,
"FOIArequests, CRT (CRT)" <CRT FOIArequests@usdoj gov>, "Mallory, Arnetta (NSD)" <Arnetta Mallory@usdoj gov>, <ogis@nara gov>, "Davis, Kolan (Judiciary-Rep)"
<Kolan Davis@judiciary-rep senate gov>, <peter carey@judiciary-rep senate gov>, <erin creegan@judiciary-rep senate gov>, <aaron cummings@judiciary-rep senate gov>,
<ryan dattilo@judiciary-rep senate gov>, <richard dizinno@judiciary-rep senate gov>, <josh flynn-brown@judiciary-rep senate gov>, <steve kenny@judiciary-rep senate gov>,
<barbara ledeen@judiciary-rep senate gov>, <marc marie@judiciary-rep senate gov>, <kyle mccollum@judiciary-rep senate gov>, <lauren mehler@judiciary-rep senate gov>,
<katherine nikas@judiciary-rep senate gov>, <brian simonsen@judiciary-rep senate gov>, <jessica vu@judiciary-rep senate gov>, <katharine willey@judiciary-rep senate gov>,
<theo wold@judiciary-rep senate gov>
Subject: FW: Expedited Processing Requested on FOIA Tracking No FY17-245 and EOUSA-2017-001754

Dear Ms Pustay:

I am following up on my prior correspondence with you and your OIP colleagues from July 2017 (please see below/attached) On a news show yesterday and directly related to our
prior exchanges from years ago, U S Senate Judiciary Chairman Graham noted: "Lindsey Graham presses DOJ to declassify Carter Page FISA
process”: https://www washingtonexaminer com/news/lindsey-graham-presses-doj-to-declassify-carter-page-fisa-process   

As you are undoubtedly aware, 5 U S C § 552a(d)(2) requires that DOJ “permit the individual to request amendment of a record pertaining to him” prior to public disclosure
 Throughout the time since my first related initial letter that I sent to DOJ over 27 months ago (also attached), I have still not had any of my Privacy Act-related requests fulfilled by
the Justice Department in accordance with the law

I am entirely open to declassification of this fraudulent Russian disinformation found in my illegal FISA warrants which was originally funneled to the Justice Department by DNC
consultants including Nellie Ohr and Christopher Steele Like Chairman Graham, I am also eager to see this completed as soon as possible But it seems to me that now might be a
good time for DOJ to start following the law as part of that process (Privacy Act of 1974, et al)

On or before Saturday, July 21, 2018 and in direct violation of the Privacy Act, the FBI and/or DOJ illegally released my partially-redacted and highly misleading FISA affidavits to
the New York Times [https://www nytimes com/2018/07/21/us/politics/carter-page-fisa html]    In our two-tiered justice system, both this newspaper and Mr Comey have clearly
been given unconscionable special treatment Not only was I never previously afforded my legal right to amend my own record record pertaining to me beforehand which I had
requested on many earlier occasions for over a year [5 U S C § 552a(d)(2)], I did not receive these documents until after the New York Times at the start of the next week on Monday,
July 23, 2018   

To put these continued illegal abuses in a statutory context, as per 5 U S C § 552a(i)(1):

      “Any officer or employee of an agency, who by virtue of his employment or official position, has possession of, or access to, agency records which contain individually
      identifiable information the disclosure of which is prohibited by this section or by rules or regulations established thereunder, and who knowing that disclosure of the
      specific material is so prohibited, willfully discloses the material in any manner to any person or agency not entitled to receive it, shall be guilty of a misdemeanor
      and fined not more than $5,000.”

In accordance with these aforementioned statutory citations as well as other related laws, rules and regulations, the U S Government was not entitled to bestow higher priority for
receipt of my personal information to the New York Times and other favored media outlets, particularly since I was never granted any chance to amend it in accordance with 5 U S C
§ 552a(d)(2) As I have alluded to previously, this statutory clause (Id.) explicitly guarantees that agencies shall: “permit the individual to request amendment of a record pertaining
to him ” Although many proven liars have allegedly been talking about and contributing as witnesses to the forthcoming IG report which relates to their prior corrupt FISA warrants
against President Trump and me, I have never been permitted any such opportunity to review the false information pertaining to me which they have provided to DOJ In the case of
the New York Times’ illegally-revealed FISA warrants from July 21, 2018, the selective redactions also allowed for outrageous disclosures that untrustworthy people like McCabe and
Comey had forever branded me as an “Agent of Russia” or an “agent of a foreign power” while leaving completely blacked-out all of their nonsensical specific bases upon which
these false allegations were made on behalf of the DNC and their political beneficiaries in the first place   

I can appreciate that these prior unfortunate crimes occurred during the Rosenstein-Sessions era at DOJ when FISA-related lawlessness ran rampant within the Department The prior
correspondence that I sent to you and Rod Rosenstein on July 23, 2017 (infra) came less than one month after that former Deputy Attorney General filed his fraudulent FISA affidavit
against me on or about June 29, 2017 However, I know that Attorney General Barr, Inspector General Horowitz and the U S Attorneys for Connecticut and D C have more recently
begun work on restoring rule of law in this country Specific to the Privacy Act of 1974 and consistent with that return to conscionable practices, last week's IG report specifically
recognized the importance of actually following this important law:


     Comey’s interest in communicating with his counsel must be balanced against the government's legitimate interest in protecting its information and preventing disclosure
     of certain types of information, such as national security or Privacy Act-protected information [Martin v Lauer, 686 F 2d 24, 34 (D C Cir 1982) ]
     [Emphasis added ]

In that 1982 Martin case cited by the IG last week (supra), the D C Circuit found in favor of the Plaintiffs In a subsequent appearance by those parties before the court, Judge
Edwards of the D C Circuit again ordered further proceedings by remanding the case to the district court and also noted:

     "the defendants finally asked some particular questions of the plaintiffs and it became even clearer that the Privacy Act was a bogus issue At oral argument before us during this
     appeal, the defendants conceded that they could have made these inquiries early in the trial proceedings Instead of doing so, they raised the Privacy Act defense (without any
     legitimate basis for concern), argued its relevance, and forced the plaintiffs to spend time responding to it
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Carter

Sent from my iPhone

On Jul 20 2017 at 4 36 PM USDOJ-Office of Legal Counsel (SMO) <USDOJ-OfficeofLegalCounsel@usdoj.gov> wrote

         Dear Mr. Page

         Attached please find the acknowledgement letter for your FOIA request that has been assigned tracking number OLC FY17-245.

         Sincerely,
         Melissa Golden, Esq.
         Lead Paralegal and FOIA Specialist
         Office of Legal Counsel
         Department of Justice
         Please note my new last name (formerly Kassier)

         <Ack 17-245.pdf>
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               Malis Decl. Exhibit D
Case 1:20-cv-03460-FYP Document 88-32 Filed 09/17/21 Page 27 of 27
